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                                               ACCO,(SPx),DISCOVERY,MANADR,RELATED-P

                 UNITED STATES DISTRICT COURT
      CENTRAL DISTRICT OF CALIFORNIA (Eastern Division - Riverside)
           CIVIL DOCKET FOR CASE #: 5:19-cv-00128-JAK-SP


Robin Kennedy v. 3M Company, et al                        Date Filed: 01/23/2019
Assigned to: Judge John A. Kronstadt                      Jury Demand: Plaintiff
Referred to: Magistrate Judge Sheri Pym                   Nature of Suit: 365 Personal Inj. Prod.
Case in other court: San Bernardino Superior Court,       Liability
                    CIVDS1833456                          Jurisdiction: Diversity
Cause: 28:1441 Notice of Removal - Product Liability
Plaintiff
Robin Kennedy                               represented by Lee A Cirsch
                                                           Lanier Law Firm PC
                                                           21550 Oxnard Street 3rd Floor
                                                           Woodland Hills, CA 91367
                                                           310-277-5100
                                                           Fax: 310-277-5103
                                                           Email: lee.cirsch@lanierlawfirm.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Michael A Akselrud
                                                           Lanier Law Firm PC
                                                           21550 Oxnard Street 3rd Floor
                                                           Woodland Hills, CA 91367
                                                           310-277-5100
                                                           Fax: 310-277-5103
                                                           Email:
                                                           michael.akselrud@lanierlawfirm.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED


V.
Defendant
3M Company                                  represented by Kimberly O Branscome
                                                           Kirkland and Ellis LLP
                                                           333 South Hope Street
                                                           Los Angeles, CA 90071
                                                           213-680-8400
                                                           Fax: 213-680-8500
                                                           Email:
                                                           kimberly.branscome@kirkland.com




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CM/ECF - California Central District                                                      Page 2 of 5
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                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Sierra Elizabeth
                                                            Kirkland and Ellis LLP
                                                            333 South Hope Street
                                                            Los Angeles, CA 90071
                                                            213-680-8400
                                                            Fax: 213-680-8500
                                                            Email: sierra.elizabeth@kirkland.com
                                                            ATTORNEY TO BE NOTICED

Defendant
Does
One through Fifty, inclusive


 Date Filed      #   Docket Text
 01/23/2019       1 NOTICE OF REMOVAL from San Bernardino, case number CIVDS1833456
                    Receipt No: 0973-23085525 - Fee: $400, filed by Defendant 3M Company.
                    (Attachments: # 1 Exhibit A - State Court Complaint, # 2 Exhibit B - Summons,
                    # 3 Exhibit C - State Court Civil Cover Sheet, # 4 Exhibit D - Certificate of
                    Assignment, # 5 Exhibit E - Notice of Trial Setting Conference, # 6 Exhibit F -
                    Complaint: Andrew Bridges v. 3M Company, Case No. 2:19-cv-00327-JFW-
                    AS, C.D. Cal.) (Attorney Kimberly O Branscome added to party 3M Company
                    (pty:dft))(Branscome, Kimberly) (Entered: 01/23/2019)
 01/23/2019       2 CIVIL COVER SHEET filed by Defendant 3M Company. (Branscome,
                    Kimberly) (Entered: 01/23/2019)
 01/23/2019       3 NOTICE Defendant 3M Company's Notice of Pendency of Other Actions
                    Pursuant to L.R. 83-1.4.1 filed by Defendant 3M Company. (Branscome,
                    Kimberly) (Entered: 01/23/2019)
 01/23/2019       4 Defendant 3M Company's Certification of Interested Parties Pursuant to Local
                    Rule 7-1.1 and Corporate Disclosure Statement Pursuant to Federal Rule of
                    Civil Procedure 7.1 CERTIFICATE of Interested Parties filed by Defendant 3M
                    Company, identifying None. (Branscome, Kimberly) (Entered: 01/23/2019)
 01/23/2019       5 NOTICE of Related Case(s) filed by Defendant 3M Company. Related Case(s):
                    2:19-cv-00327-JFW-AS (Branscome, Kimberly) (Entered: 01/23/2019)
 01/23/2019       6 Notice of Appearance or Withdrawal of Counsel: for attorney Kimberly O
                    Branscome counsel for Defendant 3M Company. Adding Kimberly Branscome
                    as counsel of record for 3M Company for the reason indicated in the G-123
                    Notice. Filed by Defendant 3M Company. (Branscome, Kimberly) (Entered:
                    01/23/2019)
 01/23/2019       7 Notice of Appearance or Withdrawal of Counsel: for attorney Sierra Elizabeth
                    counsel for Defendant 3M Company. Adding Sierra Elizabeth as counsel of
                    record for 3M Company for the reason indicated in the G-123 Notice. Filed by



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                     Defendant 3M Company. (Attorney Sierra Elizabeth added to party 3M
                     Company(pty:dft))(Elizabeth, Sierra) (Entered: 01/23/2019)
 01/23/2019      8 PROOF OF SERVICE filed by Defendant 3M Company, re Civil Cover Sheet
                   (CV-71) 2 , Notice of Appearance or Withdrawal of Counsel (G-123), 6 ,
                   Certificate/Notice of Interested Parties, 4 , Notice (Other) 3 , Notice of Removal
                   (Attorney Civil Case Opening),, 1 , Notice of Related Case(s) 5 , Notice of
                   Appearance or Withdrawal of Counsel (G-123), 7 served on 01/23/2019.
                   (Branscome, Kimberly) (Entered: 01/23/2019)
 01/23/2019          CONFORMED COPY OF COMPLAINT against defendants 3M Company,
                     Does One through Fifty, inclusive, Jury Demand, filed by plaintiff Robin
                     Kennedy. (Filed in state court 12/24/18, submitted as document 1, attachment 1)
                     (esa) (Entered: 01/23/2019)
 01/23/2019      9 NOTICE OF ASSIGNMENT of Eastern Division Removal Case. This case was
                   initially assigned to District Judge Jesus G. Bernal and referred to Magistrate
                   Judge Sheri Pym for discovery. Pursuant to General Order 16-05, this case has
                   been randomly reassigned to District Judge John A. Kronstadt. The case number
                   on all documents filed with the Court in this case should read as follows: 5:19-
                   cv-00128 JAK (SPx). (esa) (Entered: 01/23/2019)
 01/23/2019     10 NOTICE TO PARTIES OF COURT-DIRECTED ADR PROGRAM filed. (esa)
                   (Entered: 01/23/2019)
 01/23/2019     11 NOTICE OF PRO HAC VICE APPLICATION DUE for Non-Resident
                   Attorney W. Mark Lanier. A document recently filed in this case lists you as an
                   out-of-state attorney of record. However, the Court has not been able to locate
                   any record that you are admitted to the Bar of this Court, and you have not filed
                   an application to appear Pro Hac Vice in this case. Accordingly, within 5
                   business days of the date of this notice, you must either (1) have your local
                   counsel file an application to appear Pro Hac Vice (Form G-64) and pay the
                   applicable fee, or (2) complete the next section of this form and return it to the
                   court at cacd_attyadm@cacd.uscourts.gov. You have been removed as counsel
                   of record from the docket in this case, and you will not be added back to the
                   docket until your Pro Hac Vice status has been resolved. (esa) (Entered:
                   01/23/2019)
 01/23/2019     12 NOTICE OF PRO HAC VICE APPLICATION DUE for Non-Resident
                   Attorney Richard Meadow. A document recently filed in this case lists you as an
                   out-of-state attorney of record. However, the Court has not been able to locate
                   any record that you are admitted to the Bar of this Court, and you have not filed
                   an application to appear Pro Hac Vice in this case. Accordingly, within 5
                   business days of the date of this notice, you must either (1) have your local
                   counsel file an application to appear Pro Hac Vice (Form G-64) and pay the
                   applicable fee, or (2) complete the next section of this form and return it to the
                   court at cacd_attyadm@cacd.uscourts.gov. You have been removed as counsel
                   of record from the docket in this case, and you will not be added back to the
                   docket until your Pro Hac Vice status has been resolved. (esa) (Entered:
                   01/23/2019)
 01/23/2019     13



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                     NOTICE OF PRO HAC VICE APPLICATION DUE for Non-Resident
                     Attorney Rachel Lanier. A document recently filed in this case lists you as an
                     out-of-state attorney of record. However, the Court has not been able to locate
                     any record that you are admitted to the Bar of this Court, and you have not filed
                     an application to appear Pro Hac Vice in this case. Accordingly, within 5
                     business days of the date of this notice, you must either (1) have your local
                     counsel file an application to appear Pro Hac Vice (Form G-64) and pay the
                     applicable fee, or (2) complete the next section of this form and return it to the
                     court at cacd_attyadm@cacd.uscourts.gov. You have been removed as counsel
                     of record from the docket in this case, and you will not be added back to the
                     docket until your Pro Hac Vice status has been resolved. (esa) (Entered:
                     01/23/2019)
 01/23/2019     14 NOTICE OF PRO HAC VICE APPLICATION DUE for Non-Resident
                   Attorney Evan D. Buxner. A document recently filed in this case lists you as an
                   out-of-state attorney of record. However, the Court has not been able to locate
                   any record that you are admitted to the Bar of this Court, and you have not filed
                   an application to appear Pro Hac Vice in this case. Accordingly, within 5
                   business days of the date of this notice, you must either (1) have your local
                   counsel file an application to appear Pro Hac Vice (Form G-64) and pay the
                   applicable fee, or (2) complete the next section of this form and return it to the
                   court at cacd_attyadm@cacd.uscourts.gov. You have been removed as counsel
                   of record from the docket in this case, and you will not be added back to the
                   docket until your Pro Hac Vice status has been resolved. (esa) (Entered:
                   01/23/2019)
 01/23/2019     15 NOTICE OF PRO HAC VICE APPLICATION DUE for Non-Resident
                   Attorney D. Todd Mathews. A document recently filed in this case lists you as
                   an out-of-state attorney of record. However, the Court has not been able to
                   locate any record that you are admitted to the Bar of this Court, and you have
                   not filed an application to appear Pro Hac Vice in this case. Accordingly, within
                   5 business days of the date of this notice, you must either (1) have your local
                   counsel file an application to appear Pro Hac Vice (Form G-64) and pay the
                   applicable fee, or (2) complete the next section of this form and return it to the
                   court at cacd_attyadm@cacd.uscourts.gov. You have been removed as counsel
                   of record from the docket in this case, and you will not be added back to the
                   docket until your Pro Hac Vice status has been resolved. (esa) (Entered:
                   01/23/2019)
 01/23/2019     16 NOTICE OF PRO HAC VICE APPLICATION DUE for Non-Resident
                   Attorney Megan Arvola. A document recently filed in this case lists you as an
                   out-of-state attorney of record. However, the Court has not been able to locate
                   any record that you are admitted to the Bar of this Court, and you have not filed
                   an application to appear Pro Hac Vice in this case. Accordingly, within 5
                   business days of the date of this notice, you must either (1) have your local
                   counsel file an application to appear Pro Hac Vice (Form G-64) and pay the
                   applicable fee, or (2) complete the next section of this form and return it to the
                   court at cacd_attyadm@cacd.uscourts.gov. You have been removed as counsel
                   of record from the docket in this case, and you will not be added back to the




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                     docket until your Pro Hac Vice status has been resolved. (esa) (Entered:
                     01/23/2019)



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 1      Kimberly Branscome (SBN 255480)
        kimberly.branscome@kirkland.com
 2      Sierra Elizabeth (SBN 268133)
        sierra.elizabeth@kirkland.com
 3      KIRKLAND & ELLIS LLP
        333 South Hope Street
 4      Los Angeles, California 90071
        Telephone: (213) 680-8400
 5      Facsimile: (213) 680-8500
 6      Attorneys for Defendant 3M COMPANY
 7

 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10
        ROBIN KENNEDY,                         )   CASE NO. 5:19-cv-00128
11                                             )
                    Plaintiff,                 )   __________
12                                             )   DEFENDANT 3M COMPANY’S
              v.                               )   NOTICE OF REMOVAL
13                                             )
        3M COMPANY, and DOES, ONE              )   Complaint Filed: December 24, 2018
14      Through FIFTY, inclusive,              )   Date Removed: January 23, 2019
                                               )
15                  Defendants.                )   Trial Date:      None Set
                                               )
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                           DEFENDANT 3M COMPANY’S NOTICE OF REMOVAL
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 1           Defendant 3M COMPANY (“Defendant”) by and through its counsel, hereby
 2     gives notice of the removal of this action from the Superior Court of the State of
 3     California for the County of San Bernardino to the United States District Court for the
 4     Central District of California, pursuant to 28 U.S.C. §§ 1332(a), 1441, and 1446,
 5     based on the following facts. Defendant expressly reserves all rights otherwise to
 6     respond to this lawsuit, including but not limited to any objection to jurisdiction or
 7     improper venue.
 8           Pursuant to 28 U.S.C. § 1446(a), Defendant has attached to this Notice a copy
 9     of all process, pleadings and orders that Defendant has obtained from the Superior
10     Court’s file.
11                                           BACKGROUND
12           1.        On December 24, 2018, an action was filed in the Superior Court of the
13     State of California, in the County of San Bernardino, entitled Robin Kennedy v. 3M
14     Company, and DOES, ONE Through Fifty, Inclusive, designated as case number
15     CIVDS1833456.
16           2.        Plaintiff in this action Robin Kennedy (“Plaintiff”) was at the time of the
17     filing of the Complaint, and still is, a citizen and resident of California. (Ex. A
18     (Compl.) ¶ 2.)
19           3.        Plaintiff alleges personal injuries sustained while in training and/or on
20     active military duty domestically and abroad. Specifically, Plaintiff alleges that he
21     suffered serious and dangerous side effects, including sensorineural hearing loss and
22     tinnitus, from the use of Defendant 3M’s Dual-ended Combat Arms™ earplugs while
23     deployed for active duty. (Ex A (Compl.) ¶¶ 89, 101, 110, 118, 124, 136, 145, 152,
24     173, Prayer for Relief).
25                                     BASIS OF JURISDICTION
26           4.        This case is removable based on diversity jurisdiction, 28 U.S.C. §§
27     1332(a), 1441, and 1446.
28


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 1           5.     Diversity of Citizenship. This Court has jurisdiction over this matter
 2     based on diversity of citizenship under Section 1332(a) because Plaintiff and
 3     Defendant are citizens of different states. 28 U.S.C. § 1332(a)(1).
 4           6.     Plaintiff is a citizen of California. (Ex. A (Compl.) ¶ 2.)
 5           7.     Defendant is a corporation organized and existing under the laws of the
 6     state of Delaware with its principal place of business in St. Paul, Minnesota. (Ex. A
 7     (Compl.) ¶ 3.). Accordingly, Defendant was, at the time of filing of the Complaint,
 8     and still is, a citizen of the States of Delaware and Minnesota within the meaning of
 9     28 U.S.C. §1332 (c)(1), which provides that “a corporation shall be deemed to be a
10     citizen of every State and foreign state by which it has been incorporated and of the
11     State or foreign state where it has its principal place of business….” See also, 3123
12     SMB LLC v. Horn, 880 F.3d 461, 462-63 (9th Cir. 2018) (providing that, “[f]or
13     purposes of determining diversity jurisdiction, ‘a corporation shall be deemed to be a
14     citizen of every State by which it has been incorporated and of the State where it has
15     its principal place of business) (citing 28 U.S.C. § 1332(c)(1)). Defendant is not a
16     citizen of California.
17           8.     Because Plaintiff is a citizen of California and Defendant is a citizen of
18     Delaware and Minnesota, the two parties are completely diverse.
19           9.     That Plaintiff has joined fifty unidentified “Doe” defendants does not
20     defeat removal on the basis of diversity of citizenship between him and Defendant.
21     Federal courts do not consider the citizenship of unidentified Doe defendants when
22     analyzing an action on the basis of diversity of citizenship. 28 U.S.C. § 1441(b)(1)
23     (“In determining whether a civil action is removable on the basis of the jurisdiction
24     under section 1332(a) of this title, the citizenship of defendants sued under fictitious
25     names shall be disregarded.”); Newcombe v. Adolf Coors Co., 157 F.3d 686, 690 (9th
26     Cir. 1998) (“[T]he citizenship of defendants sued under fictitious names shall be
27     disregarded for purposes of removal. As such, the district court was correct in only
28     considering the domicile of named defendants.”).


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 1           10.     Amount in Controversy. The amount in controversy requirement of
 2     Section 1332(a) is also met. Where a plaintiff’s state court complaint is silent as to
 3     the amount of damages claimed, the removing defendant “need include only a
 4     plausible allegation that the amount in controversy exceeds the jurisdiction threshold.”
 5     Dart Cherokee Basin Operating Co., LLC v. Owens, 135 S. Ct. 547, 551, 553 - 54
 6     (2014). Although the Complaint does not specify the dollar amount of damages being
 7     sought, Defendant has a reasonable good faith belief that Plaintiff seeks damages in
 8     excess of $75,000 and meets the jurisdictional requirements of this Court for the
 9     following reasons:
10           (i)     Plaintiff claims to have suffered serious and dangerous side effects,
11                   including sensorineural hearing loss and tinnitus (Complaint, inter alia,
12                   ¶¶ 73, 89, 101, 110, 118, 124, 136, 145, 152, 173, Prayer for Relief);
13           (ii)    Plaintiff claims he is owed economic damages for medical and related
14                   expenses (Complaint at Prayer for Relief);
15           (iii)   Plaintiff claims he is owed economic damages for loss of income
16                   (Complaint at Prayer for Relief);
17           (iv)    Plaintiff claims he is entitled to punitive damages as a result of Defendant
18                   acting willfully, wantonly, with an evil motive and recklessly (Complaint
19                   inter alia, ¶¶ 89, 101, 110, 118, 124, 136, 145, 152, 173 - 175, Prayer for
20                   Relief);
21           (v)     Plaintiff claims he is entitled to interest, costs of suit, and attorneys’ fees
22                   (Complaint inter alia, ¶¶ 89, 101, 110, 118, 124, 136, 145, 152, 173, 174,
23                   Prayer for Relief).
24           11.     In assessing whether a controversy exceeds $75,000, the Court must
25     consider and include all relief to which the plaintiff is entitled if the action succeeds.
26     Chavez v. JPMorgan Chase & Co., 888 F.3d 413, 418 (9th Cir. 2018).
27           12.     Furthermore, the plaintiff in Andrew Bridges v. 3M Company, 2:19-CV-
28     00327-JFW-AS, a related case in this district brought by the same law firm based on


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 1     similar underlying facts, injuries, causes of action and claims for relief, affirmatively
 2     pled that the amount in controversy exceeds the sum or value of $75,000. (See Ex. F).
 3                                    REMOVAL IS TIMELY
 4           13.    Removal is timely under 28 U.S.C. § 1446(b). Defendant obtained a
 5     copy of the Complaint in this action no earlier than December 24, 2018 — the date on
 6     which the Complaint was filed. (See Exs. A–E). Pursuant to 28 U.S.C. 1446(b)
 7     Defendant has therefore filed this Notice of Removal within thirty days from when
 8     Defendant was in receipt of the Complaint.
 9                              NOTICE TO THE STATE COURT
10           14.    Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is
11     being served on Plaintiff and filed with the Superior Court of the State of California,
12     County of San Bernardino, where this case was originally filed.
13                                             VENUE
14           15.    The state court in which this case was commenced is within this Court’s
15     federal district. (See Ex. A (Compl.)) Therefore, this action is properly removable to
16     this Court pursuant to 28 U.S.C. § 1446(a).
17           16.    Accordingly, for the above reasons, this Court has jurisdiction over this
18     action pursuant to 28 U.S.C. § 1332.
19                    PROCESS, PLEADINGS, AND ORDERS 28 U.S.C. 1446(a)
20           17.    Defendant has attached a true and correct copy of all documents from the
21     Superior Court’s file that Defendant has obtained, attached as Exhibit A–E.
22           WHEREFORE, Defendant 3M respectfully requests that this action in the
23     Superior Court of the State of California for the County of San Bernardino be
24     removed to this Court, and that no further proceedings be had in state court.
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 1      DATED: January 23, 2019                Respectfully submitted,
 2                                             KIRKLAND & ELLIS LLP
 3
                                               By: /s/ Kimberly Branscome
 4                                             Kimberly Branscome (SBN 255480)
                                               Sierra Elizabeth (SBN 268133)
 5                                             KIRKLAND & ELLIS LLP
                                               333 South Hope Street
 6                                             Los Angeles, California 90071
                                               Telephone: (213) 680-8400
 7                                             Facsimile: (213) 680-8500
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                         EXHIBIT A
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                                       i


        Michael Akselrud        State Bar No 285033              Evan D Buxner Pro Hac Vice Anticipated
 1                                                               D Todd Mathews         Pro Hac Vice Anticipated
        Lee Cirsch State Bar No 227668
        THE LANIER LAW FIRM                 PC                   Megan Arvola Pro Hac Vice Anticipated
 2
        21550 O       ard   Street 3    Floor                    GORI JCTLIAN       ASSOCIATES P C

       Woodland Hills CA 91367                                    156 N Main St
 3
        Telephone      310    277 5100                           Edwardsville IL 62025
 4      Facsimile     310     277 5103                           Telephone    618 659 9833
       michael    akselrud@lanierlawfirm         com             Facsimile   618   659 9834
 5
        lee   cirsch@lainierlawfirm com                          evan@gorijulianlaw com

                                                                 todd@gorijulianlaw com
 6
                                                                 marvola@gorijulianlaw com
 7                                                                                                 F       ED
        W Mark Lanier Pro Hac Vice Anticipated                                      SlfPER OR COURT OF CALIFORNil4
                                                                                      COUNTY OF SAf BERNARDII O
 8      Richard Meadow         Pro Hac Vice Antici1    ated
                                                                                     SAN RERfVARQIFJQ Ci 11L DIVI tOi
        Rachel Lanier        Pro Hac Vice Anticipated
 9      THE LANIER LAW FIRM                 PC                                                 D E C 2 4 2 G18
        Tower 56
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15
                       IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
16
                      COUNTY OF SAN BERNARDINO UNLIMITED NRISDICTION

17


1g                                                                                         4   f   Y        t   P
       ROBIN KENNEDY                                                 CASE NO
19
                                                                     COMPLAINT FOR DAMAGES AND
        Plaintiff s
20                                                                   DEMAND FOR NRY TRIAL


21                                                                    1   Design Defect Negligence
                                                                      2   Design Defect Strict Liability
22
                                                                      3   Failure to Warn Negligence
                                                                      4   Breach of Express Warranty
23      3M COMPANY            and   DOES ONE
                                                                      5   Breach ofImplied Warranties
        Through FIFTY inclusive
24                                                                    6   Fraudulent Misrepresentation
                                                                      7   Fraudulent Concealment
25                                                                    8   Negligent Misrepresentation
       Defendants
                                                                      9   Fraud and Deceit
26
                                                                      10 Punitive Damages                                    o




27


28



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                                                                                                       R        N    L
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    1                                COMPLAINT AND DEMAND FOR JURY TRIAL


    2             PLAINTIFF Robin                            Plaintiff
                                                Kennedy                   by and through the undersigned counsel brings
    3   this Complaint seeking judgment against Defendant                    3M COMPANY          hereinafter referred to as


    4    Defendant             3M        or    3M Aearo      for personal injuries incurred while in training and or on
    5
        active military duty resulting from Defendant s defective and unreasonably dangerous product
                                              ArmsTM
    6   the Dual ended Combat                          earplugs     Version 2 CAEv 2          Dual ended Combat ArmsrM


        earplugs          At   all   times      relevant   hereto   the Dual ended    Combat      ArmsTM earplugs were

    g   manufactured           designed         formulated    tested     packaged   labeled    produced   created   made



    9
        constructed assembled marketed advertised promoted distributed and sold by Defendant

10
                                     I        INTRODUCTION AND SUMMARY OF ACTION

11
                      1        laintiff Robin Kennedy a United States Marine Corps veteran brings this suit to
12
         recover damages arising from personal injuries sustained while in training andlor on active
13
         military duty domestically and abroad While on active duty Plaintiff used Defendant s
14
         dangerously defective Dual ended Combat ArmsTM earplugs during convoys patrolling firing
15
          eapons and any time he was in the field Defendant sold the Dual ended Combat ArmsrM
16
         earplugs to the U S military for more than a decade without the military and or Plaintiff having
1
         any knowledge of the defect s and failed to adequately warn the military and or Plaintiff of the
1g
         defect   s       Defendant s Dual ended Combat ArmsTM earplugs were standard issue in certain

19
         branches of the military including Plaintiff s during foreign conflicts between at least 2003 to
20
         at least 2015         Thus Defendant s Dual ended Combat ArmsTM earplugs have likely caused
21
         thousands if not millions of soldiers to suffer significant hearing loss tinnitus and additional
22
         injuries related to hearing loss including but not limited to pain and suffering and loss of the
23
         pleasures of life

24
                                                              II       PARTIES

25
                  2          Plaintiff Robin Kennedy is a citizen and resident of San Jacinto Riverside County
26
        California

27


28



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    1          3       Defendant is a corporation organized and e sting under the laws of the state of

    2   Delaware with its principal place of business in St Paul Minnesota Among other things

    3   Defendant is in the business of designing manufacturing testing and selling worker safety

    4   products including hearing protectors and respirators Defendant has a dominant market share in
    5   virtually every safety product market including hearing protection Defendant is one of the largest

    6   companies in the country

               4       Defendant was and is authorized to do business in the State of California and was

    g   and is engaged in substantial        systematic   and continuous business activities in California

    9   including San Bernardino County

10              5      Plaintiff is ignorant of the true names and capacities of defendants sued herein as

11      Does 1 50 and therefore sues these defendants by such fictitious names pursuant to Cali ornia

12      Code of Civil Procedure 474 Plaintiff is informed and believes and upon such information and

13      belief alleges that each of the defendants designated as a Doe are legally responsible in some

14      manner for the events and happenings and caused damages as alleged herein          Plaintiff will seek

15      leave of the Court to amend this Complaint to show the true names and capacities of the defendants

16      designated as Does when the same has been ascertained


1                                      III    JURISDICTION AND VENUE


lg              6        The California Superior Court has jurisdiction over all DEFENDANTS because

19      based on information and belief each is a corporation and or entity and orperson organized under

20      the laws of or has its principal place of business in the State of California or is a foreign

21      corporation or association authorized to do business in the State of California and registered with


22      the California Secretary of State or has sufficient minimum contacts in California is a Citizen of

23      California or otherwise intentionally avails itself of the California market so as to render the

24      exercise of jurisdiction over it by the California courts consistent with traditional notions of fair

25      play and substantial justice

26              7      Further Defendants have purposefully availed themselves of the benefits and

27      protections of the laws within the state of California    Defendants conducts substantial continuous


28      and systematic business in California and have sufficient contacts with California such that the



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    1   exercise ofjurisdiction would be consistent with the traditional notions of fair play and substantial

    2   justice In fact there are over 30 military bases in California that include serviceman from all four

    3   branches of the military and the California National Guard and Army Reserve

    4            8        Further Plaintiff s claims arise out of Defendant 3M s purposeful contacts with


    5   California


    6            9        Therefore personal jurisdiction is proper under California Code of Civil Procedure

          410 10 and the Due Process Clauses of the Fifth and Fourteenth Amendments to the Constitution

    g   of the United States of America


    g            10       Venue is proper in this county in accordance with 395 a of the California Code

10      of Civil Procedure because the injuries alleged herein arose from conduct that occurred in this

11      county


12                                       IV        FACTUAL ALLEGATIONS


13               11       Based upon information and belief and in part upon the pleadings and allegations


14      as contained in United States ex rel Moldex Metric Inc v 3M Company Case No 3 16 cv

15      01533 DCC D S C 2016            Plaintiff states as follows


16                   12   On July 26 2018 Defendant agreed to pay 9 1 million to resolve allegations that

1        it knowingly sold the Dual ended Combat ArmsTM Earplugs to the United States military without

1g       adequately warning about defects and or disclosing defects that hampered the effectiveness of the

19       hearing protection device See United States Department of Justice 3M Conipany Agrees to Pay

2p        9 1 Million to Resolve Allegations That it Supplied the United States With Defective Dual Ended

21       Combat       Arms   Earplugs   Jul   26    2018    available   at   https   www justice gov opalpr 3m


22       company agrees pay 9l million resolve allegations it supplied united states defective dual

23        last visited November 29 2018


24                   13   Defendant s Dual ended Combat ArmsTM earplugs are non linear             or selective


25       attenuation earplugs which were designed to provide soldiers with two different options far

26       hearing attenuation depending upon how the plugs are worn Both sides of the dual sided earplugs

27       were purported to provide adequate protection for soldier s ears when worn


28



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                                    Dual Eraded Combat                                                  ms        Earpitigs
 1
                                                                                                                                  aa
                                                            an                F   raas                 a              a   i             sr   a

                                       af    sa     sul r   x           ntt            ek          ir

 2                                     a7Pi
                                        TPi31i 4FF1          Si   ftA             ik        3   L 83    a    E   I

                                       CU S OrQ         s         2t          L
                                       Ear    ti3   a a

 3


 4
                                                                                                                              f


 5


 6


 7

             14       If worn in the              closed                           or             blocked                 position     olive     end   in    the earplugs    are
 8

     intended to act as a traditional earplug and block as much sound as possible
 9

            15        If worn in the         open                        or                 unblocked                     position     yellow side      in   user s ear     the
10

     earplugs are intended reduce loud impulse sounds such as battlefield explosions and artillery
11

     fire while allowing the user to hear quieter noises for example commands spoken by fellow
12

     soldiers and approaching enemy combatants
13

            16        Defendants standard fitting instructions state the wearer is to grasp the earplug
14

     by the stem and insert it into the ear canal
15

            17        The design of the earplug prevents a snug fit in the ear canal of the wearer an
16

     inherent defect about which there was no adequate warning
17

            18        When inserted according to Defendant s standard fitting instructions the edge of
18

     the third flange of the non inserted end of the earplug presses against the wearers ear canal and
19

     folds back to its original shape thereby loosening the seal in their ear canals and providing
20

     inadequate protection
21

            19        Because the earplugs are symmetrical the standard fitting instructions will result
22

     in a loosening of the seal whether either side is inserted into the ear canal
23

           20         These earplugs were originally created by a company called Aearo Technologies
24

       Aearo     or   3M Aearo
25

           21         Defendant 3M acquired Aearo in 2008 including Aearo s liabilities and thus 3M
26

     is liable for Aearo s conduct as alleged herein
27


28



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    1            22        Earplugs like the Dual ended Combat ArmsTM earplugs are sold with a stated


    2    Noise Reduction      Rating       NRR I that should accurately reflect the effectiveness of hearing

    3    protection




    4            23        The military likely purchased at a minimum one pair of 3M s Combat ArmsTM

    5    earplugs for each deployed soldier annually involved in certain foreign engagements between at

    6    least 2003 and at least 2015 See McIlwain D Scott et al Heritage ofArmy Audiology and the

         Road Ahead The Army Hearing Program AMERICAN JOURNAL OF PUBLIC HEALTH

    g    Vol 98 No        12 Dec 2008


    9            24        3M s Aearo s Dual ended Combat ArmsTM earplugs were sold to the military

10       beginning in at least late 2003 and continued to be sold directly and indirectly by 3M to the

11       military until at least late 2015 when Defendant discontinued the earplugs

12              25        The defective earplugs have not been recalled and therefore could very well be in

13       continued use by soldiers and others

14                                                     Historv of Testing


15                                                 Januarv 2000 Testing

16
                26        Employees from 3M Aearo began testing the Dual ended Combat AI II1STM
1
         earplugs in appro mately January 2000
1g
                27        3M Aearo chose to conduct the testing at its own laboratory rather than an outside
19
         independent laboratory
20
                28        3M Aearo s employees personally selected ten test subjects some of whom were
21
         also employees of 3M Aearo to test the Dual ended Combat ArmsTM earplugs

22
                29         3M Aearo    s   employees     intended   to test    1   the subject s hearing without an
23
         earplug inserted       2   the    subject s
                                                       hearing   with   the   open unblocked     yellow     end   of the


24


25
         Noise Reduction Rating NRR is a unit of ineasurement used to determine the effectiveness of hearing protection
26      devices to decrease sound exposure within a given working environment Classified by their potential to reduce noise
        in decibels dB a term used to categorize the power or density of sound hearing protectors must be tested and
        approved by the American National  Standards ANSI in accordance with the Occupational Safety           Health
27
        Administration OSHA The higher the NRR number associated with a hearing protector the greater the potential for
        noise reduction
28



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                                    ATTTISTM
    1   Dual     ended    Combat                earplug    inserted   and    3   the subject s hearing with the
                                                                            ArmsTM
    2   closed   blocked    olive   end of   the Dual     ended   Combat               earplug inserted This testing

    3   was designed to provide data regarding the NRR of the Dual ended Combat ArmsTM earplugs

    4            30      3M Aero personnel monitored the results ofeach subject as the test was performed


    5   and could thus stop the test if the desired NRR results were not achieved

    6            31      Eight of the teri subjects were tested using both the open and closed end of the
                                  ArmsTM
        Dual     ended   Combat              earplug


    g            32      Testing of the eight subjects suggested an average NRR of 10 9 which was far

    9   below the adequate NRR that 3M Aero personnel would and should have expected for the closed


10      end



11               33      3M Aero prematurely ternunated the January 2000 testing of the closed end of the
                                  ArmsTM
12      Dual   ended     Combat            earplug


13               34      3M Aero persorinel determined that when the closed olive end of the earplug was

14      inserted into the wearer s ear according to standard fitting instructions the basal edge of the

15      third flange of the open yellow end would press against the wearer s ear and fold backwards


16         en the inward pressure on the earplug was released the yellow side flanges would return to

1       their original shape and cause the earplug to loosen often imperceptible to the wearer

1g               35      The symmetrical nature of the earplug prevents a snug fit when worn either open

19      or closed according to the standard fitting instructions

20             36        3M Aero personnel determined that a snug fit requires the flanges on the opposite

21      non inserted end of the ear plug to be folded back prior to insertion

22             37        3M Aearo personnel decided not to test the closed end ofthe Dual ended Combat

        ArmsTM
23                earplug for two of the ten subjects because the results were well below the intended and

24      desired NRR


25             38        3M Aero completed testing of all ten subjects with the open end ofthe Dual ended
                  ArmsTM
26      Combat              earplug to obtain a facially invalid 2 NRR which would indicate that the

27      closed end of the earplug actually amplified sound

28



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    1           39       3M Aero represented the 2 NRR as a 0 NRR which 3M Aero has displayed on

    2   its packaging since its launch

    3           40       3M Aero    falsely   touts   the    0   NRR as a benefit of the Dual         ended Combat

        ArmsTM
    4             earplug by suggesting that soldiers will be able to hear their fellow soldiers and enemies

    5   while still   providing   some protection     As    stated   however the   true   2 NRR actually amplifies

    6   sound thereby exposing the wearer to harm

    7                                            February 2000 Testing

    g
                41       Upon identifying the fit issue 3M Aero re tested the olive closed end of the Dual
    9                     ArmsTM
        ended   Combat              earplug in February 2000 using different fitting instructions
10
                42       When testing the closed end 3M Aero personnel folded back the yellow flanges
11
        on the open end of the Dual ended Combat ArmsTM earplug prior to insertion
12
                43      Using this modified fitting procedure 3M Aero achieved a 22 NRR on the
13                                                     ArmsTM
        closed end of    the Dual   ended   Combat               earplug

14
                44       3M however riever properly warned serviceman that the only potential way to
15                                                                                        ArmsTM
        achieve   this purported NRR was to modify the Dual              ended Combat              earplug by folding
16
        the yellow flanges on the opposite end

1                                                                                       ArmsTM
                45       The   yellow   open end of     the Dual       ended   Combat            earplug was not re

1g
        tested using the modified fitting procedure
19
                                    Defendant s Representations and Omissions
20
                46       Since 2003 3M Aearo has been awarded multiple Indefmite Quantity Contracts
21

          IQC     from the U S military in      response     to Requests for Production      RFP
22
                47       From 2003 2012 3M Aearo was the exclusive supplier of these type of earplugs
23

        to the U S military
24
                48       3M Aearo was aware of the design defects alleged herein in as early as 2000
25

                49      Accordingly the defects of the Dual ended Combat ArmsTM earplugs were known
26

        to Defendant many years before 3M Aearo became the exclusive provider of the earplugs to the
27

        U S military
28



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 1         50       3M1Aearo knew at the time it bid for the initial IQC that the Dual ended Combat


 2   ArmsTM earplugs had dangerous design defects as they would not adequately protect the users

 3   from loud sounds and did not adequately warn of the defects or adequately warn how to wear

 4   the earplugs



 5         51       3M Aero   responded   to the military s Requests   for Proposal   RFP   with express




 6   certifications that it complied with the Salient Characteristics of Medical Procurement Item

     Description     MPID     of Solicitation No SP0200 06 R 4202


 g         52       3M Aearo knew at the time it made its certifications that the earplugs did not


 9   comply with the MPID

10         53       3M Aearo knew the design defects could cause the earplugs to loosen in the


11   wearer s ear imperceptibly to the wearer and even trained audiologists visually observing a

12   wearer thereby permitting damaging sounds to enter the ear canal by traveling around the

13   outside of the earplug while the user and or audiologist incorrectly believes that the earplug is

14   Working as intended

15         54       The pertinent Salient Characteristics set forth in the MPID which were uniform


16   across all RFPs in relevant part are as follows


17

                     2 1 1 Ear plugs shall be designed to provide protection from the
1g
                     impulse noises created by military firearms while allowing the
19
                     Wearer to clearly hear normal speech and other quieter sounds such
                     as voice commands on the battlefield

20                   2 2 2   The sound attenuation of both ends of the ear plugs shall be
                     tested in accordance with ANSI 53 19
21

                     2 4   Workmanship The ear plugs shall be free from all defects
22
                     that detract from their appearance or impair their serviceability
23
                     2 5   Instructions  lllustrated instructions explaining the proper use and
24                         handling of the ear plugs shall be supplied with each unit

25                   Solicitation No SP0200 06 R 4202 at 41 42 Emphasis added


26
            55      The Environmental Protection    Agency     EPA      has also promulgated regulations
27
                to the Noise Control Act 42 U S C
     pursuant                                         4901 et seq that govern the testing and attendant
28



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    1   labeling of hearing protective devices like the Dual ended Combat ArmsTM earplugs Specifically

    2   40 C F R      211 206 1 provides that


    3
                          The value of sound attenuation to be used in the calculation of the
    4
                          Noise Reduction Rating must be determined according to the
                           Method for the Measurement of Real Ear Protection of Hearing
    5
                          Protectors     and   Physical Attenuation      of   Earmuffs    This standard is
                          approved as the American National Standards Institute Standard
    6
                           ANSI STD        53 19    1974
    7


    8            56      Additionally     40 C F R         211 204 4   e      of the EPA regulations requires certain


    9    supporting information must accompany hearing protection devices sold in the United States

10                        The following minimum supporting information must accompany the
                          device in a manner that insures its availability to the prospective user
11                        In the case of bulk packaging and dispensing such supporting
                          information must be affixed to the bulk container or dispenser in the
12
                          same manner as the label and in a readily visible location
                          Instructions as to the proper insertion or placement of the device
13
                           emphasis added

14


15               57      3M Aearo knowingly used the deliberately flawed retest of the closed end of the

16       earplugs to sell Dual ended Combat ArmsTM earplugs to the military with the representation

1        that they possess a 22 NRR in the closed position

1g               58      Defendant includes standard instructions for             proper use     of the earplugs in the


19       packaging for the earplugs as required by the EPA Noise Control Act and the MPID

20               59      Defendant   s   standard   instructions   for     proper   use   of its Dual ended Combat


2l       ArmsTM earplugs do not instruct wearers to fold back the flanges of the opposite end before


22       inserting the plug into the ear

23               60      Instead Defendant improperly instructs wearers to simply insert the earplugs into

24       the ear canal



25               61      By failing to instruct wearers of the Dual ended Combat ArmsTM earplug to fold

26       back the flanges on the open unblocked end ofthe plug before inserting the closed blocked end

              the plug into their ears              is necessary   to achieve the        22   NRR
27       of                                which                                                    3M Aearo falsely

28       overstates the amount of hearing protection provided by the closed end of the plug


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    l                62    3M s Aearo s packaging and marketing of such earplugs with a labeled NRR of

    2      22    thereby misleads the wearer and has likely caused thousands of soldiers to suffer

    3     significant hearing loss and tinnitus in addition to exposing millions more to the risk caused by

    4     3M Aearo s defective earplugs


    5                63   Despite knowing that its flawed testing involved steps to manipulate the fit of the

    6     earplug 3M s Aearo s standard instructions for use of the earplugs do not instruct and never

          have instructed the wearer to fold back the flanges on the open end of the plug before inserting

    g     the closed end of the plug into their ears which is necessary to achieve the 22 NRR and avoid

    9     the defect associated with the short stem


10               64       3M s Aearo s instructions instead have provided standard fitting instructions for

11       inserting the earplug on both ends which are facially inadequate

12               65       3M Aearo was      aware prior to selling the earplugs to the military       testing

13       procedures and fitting instructions were unlawfully manipulated to obtain the NRRs it wanted
                                                       ArmsTM
14       on   both   ends of   the Dual ended Combat            earplug and 3M Aearo continued to use these

15       inaccurate NRRs to market the earplugs to the military for more than ten years without disclosing

16       the design defect in the plugs


1                66       Plaintiff reserves the right to supplement these facts after discovery

1g                                             Plaintiff Robin Kennedy

19
                     67   Plaintiff joined the Unites States Marine Corps in 1998 at the age of 18 and retired

20
        in June 2018

21
                     68   Prior to joining the military Plaintiff had no signs or symptoms of hearing loss or
22
         tinnitus

23
                     69   Plaintiffwas deployed for active duty in 1999 2001 2003 2008 201 l and 2017
24
                     70   3M Dual ended Combat ArmsTM earplugs were standard issue while Plaintiff was

25
         on active duty from at least 2003 to at least 2015
26
                 71       Plaintiff wore the Dual ended Combat ArmsTM earplugs on convoys patrolling
27
        firing weapons and any time he was in the field
28


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    1          72     Plaintiffwore the Dual ended Combat ArmsTM earplugs while firing weapons at

    2   Marine Corps Air Ground Combat Center located in Twentynine Palms San Bernardino County

    3   California


    4          73     Plaintiff was diagnosed with hearing loss and tinnitus in both ears in 2012 in

    5   California


    6
                                          V       CAUSES OFACTION
    7

                                                First Cause ofAction
    g
                                          Design Defect        Negligence

    9

                  4     Plaintiffincorporates by reference all preceding paragraphs as if fully set forth
10

        herein and further alleges as follows
11


12
                75      At all times relevant to this action Defendant had a duty to manufacture

        design formulate test package label produce create make construct assemble market
13

        advertise promote and distribute the Dual ended Combat ArmsTM with reasonable and due
14


15      care for the safety and well being of U S military service men and women including Plaintiff

16
         ho were subject to and used the Dual ended Combat ArmsTM earplugs during their service

1       with the U S military

                76      Plaintiff was a foreseeable user of the Dual ended Combat ArmsTM earplugs
1g


19      and Defendant knew that the Dual ended Combat ArmsTM earplugs would be used by U S

20      military service men and women including Plaintiff

               77       The Dual ended Combat ArmsTM earplugs are defective in that the design of
21


22      the earplug causes them to loosen in the wearer s ear imperceptibly to the wearer thereby

23      permitting damaging sounds to enter the ear canal by traveling around the outside of the

24      earplug while the user incorrectly believes that the earplug is working as intended

25
                78      When the Dual ended Combat ArmsTM is inserted into the ear according to

26      standard fitting instructions a proper seal is not formed with the ear canal
                79      The defect has the same effect when either end is inserted because the earplugs
27


28      are symmetrical In either scenario the effect is that the earplug may not maintain a tight seal


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 1   in some wearers ear canals such that dangerous sounds can bypass the plug altogether thereby

 2   posing serious risk to the wearer s hearing unbeknownst to him or her

 3           80        Upon information and belief Defendant failed to exercise reasonable and due


 4   care under the circumstances and therefore breached this duty in the following ways

 5

                   a     Defendant failed to design the Dual ended Combat ArmsTM         in a manner
 6
                         which would result in a NRR of 22     when used with the closed olive end
                         inserted    according to the standard fitting instructions provided by
                         Defendant

 8
                  b      Defendant failed to properly and thoroughly test the Dual ended Combat
 9                       ArmsTM earplugs


10
                  c       Defendant failed to properly and thoroughly analyze the data resulting from
11
                         testing of the Dual ended Combat ArmsTM earplugs

12                d      Defendant designed manufactured distributed and sold the Dual ended

                         Combat ArmsTM earplugs without an adequate warning of the significant
13                       and dangerous risks of the earplugs

14
                  e      Defendant designed manufactured distributed and sold the Dual ended

15                       Combat ArmsTM earplugs without providing proper instructions to avoid the
                         harm which could foreseeably occur as a result of using the earplugs in the
16                       manner the Defendant s standard fitting instructions directed

17                       Defendant failed to fulfill the standard ofcare required of a reasonable and

                         prudent manufacturer of hearing protection products specifically including
1g
                         products such as the Dual ended Combat ArmsTM earplugs and

19
                  g      Defendant negligently continued to manufacture and distribute the Dual
20                       ended Combat ArmsTM earplugs Version 2 CAEv 2 to the U S military
                         after Defendant knew or should have known of its adverse effects andlor
21
                         the availability of safer designs
22
           81     Defendant knew or should have known that the defective condition of the Dual
23

     ended Combat ArmsTM earplugs made it unreasonably dangerous to the U S military service
24
     men and women who used the earplugs
25
           82     The Dual ended Combat ArmsTM earplugs were dangerous when used by
26

     ordinary U S military service men and women who used it with the knowledge common to
27

     the U S military as to the product s characteristics and common usage
28



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 1           83       Defendant knew or should have known of the defective design at the time the


 2     Dual ended Combat ArmsTM earplugs were used by Plaintiff

 3           84       At the time the Dual      ended   Combat Arms      earplugs were used by Plaintiff

 4     and left the possession of Defendant the Dual ended Combat ArmsTM earplugs were in a

 5     condition which made it unreasonably dangerous to the ordinary U S military service

 6     member



             85       At all relevant times Plainriff used the Dual ended Combat ArmsTM earplugs


 g     in the manner in which they were intended

 9           86       As designers developers manufacturers          inspectors advertisers   distributors


10     and   suppliers   of the    Dual ended Combat ArmsTM          earplugs    Defendant had superior


11    knowledge of the Dual ended Combat ArmsTM earplugs and owed a duty of care to Plaintiff

12           87       It was foreseeable that Defendant s actions omissions and misrepresentations


13    would lead to severe permanent and debilitating injuries to the Plaintiff

14           gg       The Dual ended Combat ArmsTM earplugs were the pro                  mate cause of


15    Plaintiff s   personal   injuries   specifically Plaintiff s sensorineural hearing loss and tinnitus

16    Defendant s conduct was a substantial factor in bringing about the injuries sustained by

17    Plaintiff because 3M designed manufactured tested sold and distributed the Dual ended


1g    Combat ArmsTM earplugs to the U S military

19           g9       As a direct and pro mate result of Defendant s negligence in designing the

20    defective Dual ended Combat ArmsTM earplugs Plaintiff was caused to sufferer serious and


21    dangerous side effects including sensorineural hearing loss and tinnitus and has further

22    suffered the injuries and damages as alleged herein


23           WHEREFORE Plaintiff demands judgment against DEFENDANTS                       and each of them


24   individually jointly severally and in the alternative requests compensatory damages punitive

25   damages together with interest costs of suit attorneys fees and such further relief as the Court


26   deems equitable and just


27


28



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                                             Second Cause of Action
 1
                                     Design Defect Strict Liability
 2

          90       Plaintiff incorporates by reference all preceding paragraphs as if fully set forth
 3

     herein and further alleges as follows
 4

          91       Plaintiff was a foreseeable user of the Dual ended Combat ArmsTM earplugs
 5

          92       The Dual ended Combat ArmsTt        earplugs are defective in that the design of
 6


 7
     the earplug causes them to loosen in the wearer s ear imperceptibly to the wearer thereby

     permitting damaging sounds to enter the ear canal by traveling around the outside of the
 8

     earplug while the user incorrectly believes that the earplug is working as intended
 9

          93       Defendant knew that the defective       condition of the Dual ended Combat
10

     ArmsTM earplugs made it unreasonably dangerous to the U S military service members who
11

     used the device
12

          94       The Dual ended Combat ArmsTM earplugs were dangerous when used by an
13


14
     ordinary user who used it as it was intended to be used
          95       The Dual ended Combat ArmsTM earplugs were dangerous to an extent
15

     beyond which would be contemplated by the ordinary user who purchased the device because
16

     the design of the Dual ended Combat ArmsTM earplugs allow for dangerous sounds to bypass
17

     the plug altogether thereby posing a serious risk to a U S military service members hearing
18

     unbeknownst to him or her
19

          96       Defendant knew of the defective design at the time the Dual ended Combat
20

     ArmsTM earplugs were provided to Plaintiff
21

          97       At the time the Dual ended Combat ArmsTM earplugs left Defendant s
22

     possession the Dual ended Combat ArmsTM earplugs were defective and were in a condition
23

     which made them unreasonably dangerous to the ordinary U S military service member who
24

     used them
25

          98       At all relevant times Plaintiffused the Dual ended Combat ArmsTM earplugs
26

     in the manner in which they were intended
27

          99       The Dual ended Combat ArmsTM earplugs were the pro               mate cause of
28



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    1    Plaintiff s hearing loss and tinnitus because the short stem design of the earplugs allow for

    2     dangerous sounds to bypass the plug altogether thereby posing a serious risk to Plaintiffls

    3     hearing unbeknownst to him

    4           100     Defendant s conduct was a substantial factor in bringing about Plaintiff s

    5    personal injuries because Defendant designed tested manufactured sold and distributed the


    6     Dual ended Combat ArmsTM earplugs that caused Plaintiff s hearing loss and tinnitus

               101      As a direct and proximate result of Defendant s design defect Plaintiff was


    g     caused to sufferer serious and dangerous side effects including sensorineural hearing loss

    9     and tinnitus and has further suffered the injuries and damages as alleged herein


10             WHEREFORE Plaintiff demands judgment against DEFENDANTS                      and each of them


11      individually jointly severally and in the alternative requests compensatory damages punitive

12      damages together with interest costs of suit attorneys fees and such further relief as the Court


13      deems equitable and just


14

                                         Third Cause ofAction
15
                                      FailuretoWarn Negligence

16

               102    Plaintiff incorporates by reference all preceding paragraphs as if fully set forth
1

         herein and further alleges as follows
18

               103      At all times relevant to this action Defendant had a duty to manufacture
19

         design formulate    test package    label produce   create make   construct    assemble market
20
         advertise promote and distribute the Dual ended Combat ArmsTM with reasonable and due
21


22
         care for the safety and well being of U S military service men and women including

23
         Plaintiff who were subject to and used the Dual ended Combat ArmsTM earplugs during their

24
         service with the U S military

               104    Plaintiffwas a foreseeable user ofthe Dual ended Combat ArmsTM earplugs
25

               105    The Dual ended Combat ArmsTM earplugs are defective              in part in that the
26

27
         design of the earplug causes them to loosen in the wearer s ear imperceptibly to the wearer

28       thereby permitting damaging sounds to enter the ear canal by traveling around the outside of


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    1     the earplug while the user incorrectly believes that the earplug is working as intended
    2           106     The Dual ended Combat ArmsTM earplugs contained no warnings or in the

    3     alternative   inadequate warnings and ar instructions    as to the risk that the Dual ended


    4     Combat ArmsTM earplugs would allow for dangerous sounds to bypass the plug altogether

    5     thereby posing a serious risk to Plaintiffls hearing unbeknownst to him
                107     The warnings    and instructions that accompanied the Dual ended Combat
    6

          ArmsTM earplugs failed to provide that level of information that an ordinary consumer would

    g     expect when using the Dual ended Combat ArmsTM earplugs in a manner reasonably

    9     foreseeable to Defendant


10               108      Had Plaintiffreceived a proper or adequate warning as to the risks associated

11        with the Dual ended Combat ArmsTM earplugs he would not have used the Dual ended


l2        Combat ArmsTM earplugs


13              109      The Dual ended Combat ArmsTM earplugs were the pro             mate cause of


14        Plaintiff s hearing loss and tinnitus because design of the earplugs allows for dangerous

15        sounds to bypass the plug altogether thereby posing a serious risk to Plaintiff s hearing

16          beknownst to him


1               110      As a direct and pro   mate result of Defendant s failure to warn Plaintiff was


1g        caused to sufferer serious and dangerous side effects including sensorineural hearing loss

19        and tinnitus and has further suffered the injuries and damages as alleged herein


20             WHEREFORE         Plaintiff demands judgment against DEFENDANTS and each of them


2l      individually jointly severally and in the alternative requests compensatory damages punitive

22      damages together with interest costs of suit attorneys fees and such further relief as the Court


23      deems equitable and just


24

                                                  Fourth Cause ofAction
25
                                                 Breach of Express Warranty
26

               111       Plaintiff incorporates by reference all preceding paragraphs as if fully set forth
27

         herein and further alleges as follows
28



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    1         112       Through Defendant s public statements descriptions of the Dual ended Combat

         ArmsTM

    2               earplugs    and promises relating to the Dual ended Combat ArmsTM earplugs

    3    Defendant expressly warranted among other things that the Dual ended Combat ArmsTM

    4    earplugs were safe and effective for their intended use and were designed and constructed to


    5    prevent harmful sounds from bypassing the earplugs i to protect the user s hearing

    6         113       These   warranties came    in   one or more of   the   following   forms   i publicly made

         written and verbal assurances of     safety    ii press releases and dissemination via the media or


    g    uniform promotional information that was intended to create a demand for the Dual ended

    9    Combat ArmsTM earplugs but which contained material misrepresentations and utterly failed
                                                             ArmsTM
10       to warn of the risks of the Dual ended Combat                earplugs        iii verbal assurances made


11      by Defendant s consumer relations personnel about the safety of the Dual ended Combat

12      ArmsTM earplugs which also downplayed the risks associated with the Dual ended Combat

        ArmsTM

13                earplugs     and    iv false and misleading written information and packaging supplied

14      by Defendant

15            114       When Defendant made these express warranties it knew the purpose s for which


16      the Dual ended Combat ArmsTM earplugs were to be used and warranted it to be in all respects


1        safe and proper for such purpose s


1g            115       Defendant drafted the documents and or made statements upon which these


19           anty claims are based and in doing so defined the terms of those warranties

20            116       The Dual ended Combat ArmsTM earplugs do not conform to Defendant s


21      promises descriptions         or affirmation of fact and was not adequately packaged labeled

22      promoted and or fit for the ordinary purposes for which such earplugs are used

23            117       Plaintiff further alleges that all ofthe aforementioned written materials are known


24      to Defendant and in its possession        and it is Plaintiff s reasonable belief that these materials


25       shall be produced by Defendant and be made part of the record once Plaintiff is afforded the

2       opportunity to conduct discovery

27             118      As a direct and pro     mate result of Defendant s breach of the express warranties


28      Plaintiff was caused to sufferer serious and dangerous side effects including sensorineural


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    1    hearing loss and tinnitus and has further suffered the injuries and damages as alleged herein

    2           WHEREFORE Plaintiff demands judgment against DEFENDANTS and each of them


    3   individually jointly severally and in the alternative requests compensatory damages punitive

    4   damages together with interest costs of suit attorneys fees and such further relief as the Court

    5   deems equitable and just


    6
                                             Fifth Cause ofAction

                                         Breach ofImplied Warranties

    8


    9
                119    Plaintiff incorporates by reference all preceding paragraphs as if fully set forth

         herein and further alleges as follows
10

                120    At the time Defendant marketed sold and distributed the Dual ended Combat
11

         ArmsTM earplugs Defendant knew ofthe use for which the Dual ended Combat ArmsTM earplugs
12


13
           ere intended and impliedly warranted the Dual ended Combat ArmsTM earplugs to be fit for a
         Particular purpose and warranted that the Dual ended Combat Arms M earplugs were of
14

         merchantable quality and effective for such use
15

                121    Defendant knew or had reason to know that Plaintiff would rely on Defendant s
16


1
         judgment and skill in providing the Dual ended Combat ArmsTM earplugs for its intended use

1g
                122    Plaintiffreasonably relied upon the skill and judgment of Defendant as to whether

19
         the Dual ended Combat ArmsTM earplugs were of inerchantable quality safe and effective for

         its intended use
20

                123    Contrary to such implied warranties the Dual ended Combat ArmsTM earplugs
21


22       were neither of inerchantable quality nor safe or effective for its intended use because the Dual

          ended Combat ArmsTM earplugs were and are unreasonably dangerous defective unfit and
23


24
         ineffective for the ordinary purposes for which the Dual ended Combat ArmsTM earplugs were

         used
25

                124    As a direct and proximate result of Defendant s breach of implied warranties
26

27
         Plaintiff was caused to sufferer serious and dangerous side effects including sensorineural

28
         hearing loss and tinnitus and has further suffered the injuries and damages as alleged herein


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 1           WHEREFORE Plaintiff demands judgment against DEFENDANTS and each of them


 2   individually jointly severally and in the alternative requests compensatory damages punitive

 3   damages together with interest costs of suit attorneys fees and such further relief as the Court

 4   deems equitable and just


 5
                                               Sixth Cause of Action
 6                                        Fraudulent Misrepresentation


 7

              125    Plaintiff incorporates by reference all preceding paragraphs as if fully set forth
 g
      herein and further alleges as follows
 9
              126   Defendant falsely and fraudulently represented to Plaintiff and or the public in
10

      general that the Dual ended Combat ArmsTM earplugs had been properly tested and were free
11

      from all defects
12

              127   Defendant intentionally manipulated testing of the Dual ended Combat ArmsTM
13

      earplugs resulting in false and misleading NRRs and improper fitting instructions
14

              128   The representations made by Defendant were in fact false
15

              129   When said representations were made by Defendant it knew those representations
16

      to be false and it willfully wantonly and recklessly disregarded whether the representations were
17

      true
18

              130   These representations were made by said Defendant with the intent of defrauding
19

      and deceiving Plaintiff and the public in general and were made with the intent of inducing
20

      Plaintiff and the public in general to recommend purchase and or use the Dual ended Combat
21

      ArmsT I earplugs all of which evinced a callous reckless willful depraved indifference to the
22

      health safety and welfare of Plaintiff herein
23

              131   At the time the aforesaid representations were made by Defendant and at the time
24

      Plaintiffused the Dual ended Combat ArmsTM earplugs Plaintiff was unaware of the falsity of
25

      said representations and reasonably believed them to be true
26

              132   In reliance upon said representations Plaintiff was induced to and did use Dual
27

      ended Combat ArmsTM earplugs thereby sustaining severe and permanent personal injuries
28



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    1             133    Said Defendant knew and was aware or should have been aware that the Dual ended


    2    Combat ArmsTM earplugs had not been sufficiently tested were defective in nature and or that

    3    they lacked adequate and or sufficient instructions

    4             134    Defendant knew or should have known that the Dual ended Combat ArmsTM

    5     earplugs had a potential to could and would cause severe and grievous injury to the users of

          said product
    6

                   135   Defendant brought the Dual ended Combat ArmsTM earplugs to the market                    and


    g     acted fraudulently wantonly and maliciously to the detriment of Plaintiff

    9             136 As a result of the foregoing acts and omissions Plaintiff was caused to sufferer

10        serious and dangerous side effects including sensorineural hearing loss and tinnitus and has

11          rther suffered the injuries and damages as alleged herein


12               WHEREFORE Plaintiff demands judgment against DEFENDANTS                            and each of them


13      individually jointly severally and in the altemative requests compensatory damages punitive

14      damages together with interest costs of suit attorneys fees and such further relief as the Court

15      deems equitable and just


16
                                                         Seventh Cause ofAction
1                                                        Fraudulent Concealment

18

                  137    Plaintiff incorparates by reference all preceding paragraphs as if fully set forth
19

         herein and further alleges as follows
20

                 138     At all times relevant Defendant misrepresented the safety and efficacy of the Dual
21

          ended Combat ArmsTM earplugs for their intended use
22

                 139     Defendants knew or were reckless in not knowing that their representations were
23

         false
24

                 140     In representations to Plaintiff Defendant fraudulently concealed and intentionally
25

         omitted the following material information
26
                                                                             ArmsTM
                         a   that   testing   of the   Dual   ended Combat            earplug was deliberately flawed
27
                                                                                                   ArmsTM
                         b   the amount of       hearing protection provided by       the Combat            earplug
28



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    1                      c    that Defendant was aware of the defects in the Dual ended Combat ArmsTM


    2                           earplug

                                                                  ArmsTM
    3                      d that the Dual      ended   Combat               earplug was defective and would cause

    4                           dangerous     side   effects
                                                               including but not limited to hearing damage or

    5                           impairment

                                                                  ArmsTM
                           e    that the Dual ended Combat                  earplug was manufactured negligently
    6

                                                                  ArmsTM
                           fl   that the Dual ended Combat                  earplug was manufactured defectively
                                                                  ArmsTM
    g                      g    that the Dual ended Combat                  earplug was designed defectively
                                                                  ArmsTM
    9                      h    that the Dual ended     Combat              earplug was designed negligently and
                                                                  ArmsTM
10                         i    that the Dual ended Combat                  earplug was designed improperly

11                141     Defendant was under a duty to disclose to Plaintiff the defective nature of the dual
                         ArmsTM
12      end   Combat                earplug


13                142     Defendant had sole access to material facts concerning the defective nature of the

14      product and its propensity to cause serious and dangerous side effects and hence cause damage
                                                               ArmsTM
15      to persons who used the dual end Combat                         earplug including Plaintiff in particular

16               143      Defendant s concealment and omissions of material facts concerning inter alia the
                                                                 ArmsTM
1       safety   and    efficacy   of   the Dual end Combat                earplug was made purposefully willfully


1g      wantonly and or recklessly to mislead Plaintiff into reliance continued use of the dual end
                   ArmsTM
19      Combat                  earplug and actions thereon and to cause him to purchase and or use the

20      product        Defendant knew that Plaintiff had no way to determine the truth behind Defendant s

21      concealment and omissions and that these included material omissions of facts surrounding the
                                ArmsTM
22      Dual   end     Combat               earplug as set forth herein

23               144      Plaintiffreasonably relied on facts revealed which negligently fraudulently and or

24      purposefully did not include facts that were concealed andlor omitted by Defendant

25               145      By reason of the foregoing Plaintiff was caused to sufferer serious and dangerous

26       side effects including sensorineural hearing loss and tinnitus and has further suffered the

2        injuries and damages as alleged herein


28



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 1            WHEREFORE Plaintiff demands judgment against DEFENDANTS                  and each of them


 2   individually jointly severally and in the alternative requests compensatory damages punitive

 3   damages together with interest costs of suit attorneys fees and such further relief as the Court

 4   deems equitable and just


 5
                                                Ei hth Cause of Action
 6                                           Negligent Misrepresentation


 7

               146     Plaintiff incorporates by reference all preceding paragraphs as if fully set forth
 8

       herein and further alleges as follows
 9

               147    Defendant had a duty to represent to Plaintiff and the public in general that the
10
                               ArmsTM
       Dual   ended   Combat            earplug had been properly tested and found to be effective
11

               148    Defendant was aware its testing procedures and fitting instructions were unlawfully
12

      manipulated
13

               149    The representations made by Defendant were in fact false
14

               150    Defendant failed to exercise ordinary care in the representation of the Dual ended
15
                 ArmsTM
       Combat              earplug while involved in its manufacture sale testing quality assurance
16


17
       quality control and or distribution into interstate commerce in that Defendant negligently
                                                  ArmsTM
      misrepresented    the Dual ended Combat              earplug s safety and efficacy
18

              151     Defendant breached its duty in representing the Dual ended Combat ArmsTM
19

       earplug s serious defects to Plaintiff
20

              152     As a result of the foregoing acts and omissions Plaintiff was caused to sufferer
21

       serious and dangerous side effects including sensorineural hearing loss and tinnitus and has
22

       further suffered the injuries and damages as alleged herein
23
              WHEREFORE Plaintiff demands judgment against DEFENDANTS                  and each of them
24

     individually jointly severally and in the alternative requests compensatory damages punitive
25

     damages together with interest costs of suit attorneys fees and such further relief as the Court
26

     deems equitable and just
27


28



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 1
                                                    Ninth Cause of Action
 2                                                    Fraud and Deceit

 3
            153         Plaintiff incorporates by reference all preceding paragraphs as if fully set forth
 4

     herein and further alleges as follows
 5

            154        Defendant conducted unlawful and improper testing on the Dual ended Combat
 6

     ArmsTM earplug
 7

            155        As a result of Defendant s unlawful and improper testing Defendant blatantly and
 8

     intentionally distributed false information which overstated the amount of hearing protection
 9
                                                   ArmsTM
                       the Dual ended Combat
     provided     by                                        earplug
10

            156        As a result of Defendant s unlawful and improper testing Defendant intentionally
11

     omitted and misrepresented certain test results to Plaintiff
12

            157        Defendant had a dury when disseminating information to the public to disseminate
13

     truthful information and a parallel duty not to deceive the public and Plaintiff
14

            158        The information distributed          to Plaintiff by Defendant contained material
15

     representations of fact and or omissions concerning the hearing protection provided by the Dual
16

     ended Combat ArmsTM earplug
17

               159     These representations were all false and misleading
18

            160        Upon     information   and    belief    Defendant   intentionally    suppressed   and or

19
     manipulated test results to falsely overstate the amount of hearing protection provided by the
20
                                ArmsTM
     Dual   ended      Combat            earplug
21

            161        That it was the purpose of Defendant in making these representations to deceive
22

     and defraud the public and or Plaintiff to gain the confidence of the public and or Plaintiff to
23
                                                                                           ArmsTM
                         the quality and fitness for use of the Dual ended Combat
     falsely   ensure                                                                               earplug and
24

     induce the public and or Plaintiff to purchase request dispense recommend and or continue
25
                                          ArmsTM
     to use the Dual ended Combat                   earplug
26


27


28



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    1            162      Defendant made the aforementioned false claims and false representations with the

                                                                                                      ArmsTM
    2   intent   of    convincing the   public and or   Plaintiff that the Dual     ended Combat                  earplug was


    3   fit and safe for use


    4            163      That these representations and others made by Defendant were false when made

    5   and or were made with a pretense of actual knowledge when knowledge did not actually e st

    6   and or were made recklessly and without regard to the actual facts
                 164      That these representations and others made by Defendant were made with the

    g   intention of deceiving and defrauding Plaintiff and were made in to induce Plaintiffto rely upon

    9   misrepresentations and caused Plaintiff to purchase use rely on request dispense and or

10      recommend the Dual ended Combat ArmsTM earplug

11               165      That Defendant recklessly and intentionally falsely represented the dangerous and
                                                                                          ArmsTM
12      serious   health    and or   safety   concerns of the   Dual   ended     Combat             earplug to the public at

13      large Plaintiffin particular for the purpose of influencing the marketing of a product known to

14      be dangerous and defective and or not as safe as other alternatives


15               166      That Defendant willfully and intentionally failed to disclose the material facts
                                                                                                         ArmsTM
16      regarding the dangerous         and serious   safety    concerns of      Dual   ended   Combat             earplug by

1       concealing and suppressing material facts regarding the dangerous and serious health and or
                                                          ArmsTM
1g      safety   concerns of     Dual   ended    Combat                earplug


19               167      That Defendant willfully and intentionally failed to disclose the truth failed to

20      disclose material facts and made false representations with the purpose and design of deceiving

21      and lulling Plaintiff into a sense of security so that Plaintiff would rely on the representations
                                                                                                         ArmsTM
                       Defendant                                            the Dual ended Combat
22      made     by                  and purchase    use and    rely   on                                         earplug


23               168      That Plaintiff did in fact rely on and believe the Defendant s representations to be

24      true at the time they were made and relied upon the representations and were thereby induced to
                                                          ArmsTM
        use and           on   the Dual ended Combat                   earplug
25                 rely


26               169      That at the time the representations were made Plaintiff did not know the truth

                                                                                                           ArmsTM
                                                                               the Dual ended Combat
27      regarding the dangerous         and serious   safety    concerns of                                          earplug


28



                                      COMPLAINT FOR DAMAGES AND DEMAND FOR JURY            TRIAL
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 1         170      That Plaintiff did not discover the true facts with respect to the dangerous and

 2   serious health and or safety concerns and the false representations of Defendants nor could

 3   Plaintiff with reasonable diligence have discovered the true facts

 4         171      That had Plaintiff known the true facts with respect to the dangerous and serious

                                                                      ArmsTM
 5   health   and or   safety   concerns of   Dual   ended   Combat            earplug Plaintiff would not have

 6   used and or relied on the Dual ended Combat ArmsTM earplug

           172      That Defendant s aforementioned conduct constitutes fraud and deceit               and was

 g   committed and or perpetrated willfully wantonly and or purposefully on Plaintiff

 9         173      As a result of the foregoing acts and omissions Plaintiffwas caused to sufferer

10   serious and dangerous side effects including sensorineural hearing loss and tinnitus and has

11   further suffered the injuries and damages as alleged herein

12        WHEREFORE Plaintiff demands judgment against DEFENDANTS                              and each of them


13   individually jointly severally and in the alternative requests compensatory damages punitive

14   damages together with interest costs of suit attorneys fees and such further relief as the Court

15   deems equitable and just


16
                                               Tenth Cause of Action
17
                                                  Punitive Damages

18


19            174   Plaintiff incorporates by reference all preceding paragraphs as if fully set forth

20   herein and further alleges as follows


21            175   Defendant has acted willfully wantonly with an evil motive and recklessly in one

22   or more of the following ways

23
                    a
                         By failing to disclose material facts regarding the dangerous and serious safety
                                                                       ArmsTM
24                       concerns     of   Dual   ended      Combat                earplug   by concealing and
                         suppressing material facts regarding the dangerous and serious health and or
25                                              Dual             Combat   ArmsTM
                         safety   concerns of            ended                     earplug

26
                    b
                         By failing to disclose the truth and making false representations with the
27                       purpose and design of deceiving and lulling Plaintiffs and others so that they
                                                                                    ArmsTM
                         would use and            upon   the Dual ended Combat               earplug
                                           rely
28



                                  COMPLAINT FOR DAMAGES AND DEMAND FOR NRY TRIAL
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                                     s

                         c     By falsely representing the dangerous and serious health and or safety concerns
 1                             of the Dual ended Combat
                                                            ArmsTM
                                                                   earplug to the public at large and Plaintiff
                               in particular
 2

 3
            WHEREFORE Plaintiff demands judgment against DEFENDANTS                               and each of them

 4
     individually jointly severally and in the alternative requests compensatory damages punitive
 5
     damages together with interest costs of suit attorneys fees and such further relief as the Court

 6   deems equitable and just

 7


 8             VI        TIMELINESS AND TOLLING OF STATUTES OF LIMITATIONS

 9
               175       Plaintifffiled this lawsuit within the applicable limitations period of first suspecting
10
                                               ArmsTM
       that the Dual ended Combat                       earplugs caused   his injuries   Plaintiff could not by the
11
       exerci se of reasonable diligence have discovered the wrongful cause of the Dual ended Combat
12
       ArmsTM earplugs induced injuries at an earlier time because at the time of these injuries the
13
       cause   was unknown          to Plaintiff   Plaintiff did not suspect nor did Plaintiff have reason to
14
       suspect the cause of these injuries or the tortious nature of the conduct causing these injuries
15
       until less than the applicable limitations period prior to the filing of this action
16
               176       Furthermore the rurming of any statute of limitations has been tolled by reason of
17
       Defendant     s       fraudulent   concealment      Through    their   affirmative   misrepresentations    and
18

       omissions Defendants actively concealed from Plaintiff the risks associated with the defects in
19
       the Dual ended Combat ArmsTM earplugs
20
               177   As a result of Defendant s actions Plaintiff was unaware and could not reasonably
21
       know or have learned through reasonable diligence that the Plaintiff had been exposed to the
22
       defects and risks alleged herein and that those defects and risks were the direct and pro                 mate
23
       result ofDefendants acts and omissions
24
               178   Through Defendant s affirmative misrepresentations and omissions pertaining to
25

       the safety and efficacy of the Dual ended Combat ArmsTM earplugs Plaintiff was prevented
26

       from discovering this information sooner because Defendant herein misrepresented and
27
       continued to misrepresent the defective nature of the Dual ended Combat ArmsTM earplugs
28



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  1                 179    Additionally pursuant to the Servicemembers Civil Relief Act the period of

  2     Plaintiffls military service may not be included in computing any statute of limitations

  3     applicable        herein See 50 U S C     3936


  4
                                                   PRAYER FOR RELIEF
  5


  6
                WHEREFORE Plaintiffs prays forjudgment against DEFENDANTS and each ofthem as
  7
      follows

  8

                1     For general damages according to proof
  9

                2     For medical and related expenses according to proaf
 10

                3     For loss of income according to proof
 11

            4         For punitive damages according to proof
 12

            5        For Plaintiffs costs of suit herein and
 13

            6        For such other and further relief as this Court deems just and proper including
 14

                     prejudgement interest
 15


 16
            Dated          Decem ber 2 l   2018                  R   spe   if         xa


 17


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  1                                 DEMAND FOR NRY TRIAL


  2        Plaintiffs hereby demand a jury trial on all claims so triable in this action

  3
           Dated   December 21     2018                   Re   pe
                                                                         t


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                                                          1Vlicliae   A Cs      d   BN 285033

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                                                          Attorneysfor Plaintiff
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